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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI-DADE DIVISION

  RICARDO DEVENGOECHEA,                )                Case No.: 12-23743-CIV-HUCK/McALILEY
       Plaintiff,                      )
  vs.                                  )
                                       )
  BOLIVARIAN REPUBLIC OF               )
  VENEZUELA, a foreign state,          )
        Defendant.                     )
  ____________________________________ )

    PLAINTIFF’S UNOPPOSED MOTION FOR STAY OF ACTION NUNC PRO TUNC
     TO PRESENT DATE FEB. 27, 2019 IN LIGHT OF PRESIDENTIAL SANCTIONS

         In light of President Trump’s recent Executive Order 13850 (Nov. 1, 2018) (“EO 13850”)

  concerning the situation in Venezuela which is the defendant in this action, plaintiff moves to

  stay this action nunc pro tunc to the present date Feb. 27, 2019. The requested stay, if granted,

  will stay this action effective as of the present date. EO 13850 may be found at 83 FR 55243.

         This stay is necessary to enable plaintiff to apply for a special “OFAC license” from the

  U.S. Dept. of Treasury to consummate the settlement of this action, as authorized by EO 13850.

  The specifics are as follows:

                            Overview Of Action and Litigation History

         Plaintiff brought this action against Venezuela under the Foreign Sovereign Immunities

  Act, 28 USC 1330 & 1602 et seq. (“FSIA”), to recover the value of his collection of memorabilia

  and artifacts concerning South American liberation leader Simon Bolivar. Bolivar is heralded as

  the George Washington of South America, having successfully led six South American countries

  to independence from Spanish colonial rule. The collection once belonged to Bolivar and

  includes thousands of documents of Bolivar’s, as well as a certified locket of Bolivar’s hair,

  epaulets gifted to Bolivar by Napoleon Bonaparte, and the unique Peru Liberation Medal

  awarded to Bolivar for leading Peru to independence from Spanish colonial rule.
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         Plaintiff gained the collection through inheritance. Plaintiff, an American citizen living

  in Orlando, Florida, was born and raised in the nation of Colombia where his great great

  grandfather Joaquin de Mier was a close friend and associate of Bolivar. Bolivar gifted the

  collection to plaintiff’s great great grandfather. It was handed down from generation to

  generation in plaintiff’s family, and finally to plaintiff upon the death of his mother in 2005.

         At the instance of Venezuelan officials who traveled to Orlando, Florida to meet plaintiff

  in 2007, plaintiff brought his collection to Venezuela with these officials pursuant to an

  agreement under which Venezuela’s experts would examine the collection in Venezuela, after

  which Venezuela either would pay plaintiff an agreed price for the collection or return it to him

  in Florida. Neither happened, leading plaintiff to bring this action against Venezuela under the

  Foreign Sovereign Immunities Act.

         The details are in plaintiff’s Second Amended Complaint (DE 140) including plaintiff’s

  detailed declaration attached to it (DE 140-6).

         This Court denied Venezuela’s motion to dismiss plaintiff’s Second Amended

  Complaint, and the Eleventh Circuit affirmed. The Eleventh Circuit held plaintiff’s Second

  Amended Complaint to warrant jurisdiction under the FSIA. Devengoechea v Bolivarian

  Republic of Venezuela, 889 F.3d 1213 (11th Cir. 2018).

         On remand, the parties engaged in extensive discovery which included the deposition of

  plaintiff. The parties then settled the action, and this Court postponed its discovery-related and

  trial-related deadlines to permit the parties to consummate the settlement (DE 225). As of the

  present date, the settlement payment has not been received.

                    Executive Order 13850 and the Need for an OFAC License

         Because of the unfortunate situation in Venezuela, President Trump issued EO 13850 on

  Nov. 1, 2018. EO 13850 prohibits sending to the United States or to any United States persons
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  assets relating to designated officials of the Venezuelan government whom the U.S. Treasury

  Dept. has found to have engaged in corrupt or other illegal activities. The Executive Order also

  prohibits a broad array of “directly or indirectly” related transactions whose full scope is

  impossible to determine with any reasonable certainty. Although plaintiff’s claim is innocent

  and legitimate – which the Eleventh Circuit’s decision supports – the payment of the settlement

  is now caught in the snare of the extremely broad and uncertain reach of EO 13850.

         There is a safe harbor under EO 13850, but it takes time to invoke. Plaintiff needs a stay

  of this action to obtain permission from the U.S. Treasury Dept. which must review and approve

  the settlement. Other similar cases have granted stays in this situation. See, e.g., attached.

         The breadth of EO 13850 is extraordinary and uncertain in its scope. EO 13850 prohibits

  not only financial dealings with officials of the Venezuelan government specifically named by

  the Treasury Dept. (“specially designated nationals” or “SDNs”), but also financial dealings

  directly or indirectly “by, to or for the benefit” of SDNs, financial dealings directly or indirectly

  involving payment “from” SDNs, transactions which “evade[ ] or avoid[ ]” the restrictions, and

  acts deemed to be a “conspiracy” (undefined) to violate the restrictions (EO 13850 §§ 4(a), 4(b),

  5(a), 5(b); 83 FR at 55244). The full reach of these restrictions is impossible to define.

         Although the government of Venezuela itself as an entity is not an SDN, many of its

  officials are. It is virtually impossible to predict whether a particular transaction with the

  Venezuelan government somehow might “directly or indirectly” relate in some way to an SDN

  and thereby violate EO 13850.

         EO 13850 offers a safe harbor. It expressly authorizes the Treasury Dept. to examine

  particular transactions with Venezuela on a case-by-case basis for their bona fide nature and to

  issue “licenses … pursuant to this order” to consummate the transaction if found to be legitimate



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  (EO 13850 § 1(b); 83 FR at 55243). These licenses are issued by the Treasury Dept.’s Office of

  Foreign Assets Control (“OFAC”) and are called “OFAC licenses”.

         The broad and uncertain reach of EO 13850 makes an OFAC license imperative. It is the

  only safe approach. The law firm Skadden Arps (not involved in this case), after mentioning that

  “OFAC will have the ability to issue general or specific licenses”, used typically veiled language

  to counsel anyone dealing with the Venezuelan government to seek an OFAC license:

         “In light of the sanctions that may be issued under E.O. 13850, companies with business
         dealings … involving the Government of Venezuela or its projects or programs should
         consider potential corruption risks in their assessment of the overall sanctions risk of a
         particular transaction.”

  Skadden, New Executive Order Authorizes the Imposition of Sanctions to Counter Corruption in

  Venezuela, https:www.skadden.com/insights/publications/2018/11/New Executive Order

  Authorizes the Imposition of Sanctions to Counter Corruption in Venezuela (Nov. 8, 2019).

         Plaintiff intends to seek an OFAC license to receive his settlement. Although other

  political issues involving Venezuela may complicate the situation, the only feasible approach for

  plaintiff at this time appears to be pursuit of an OFAC license. Plaintiff is informed this process

  may take several months.

                                The Need for Nunc Pro Tunc Relief

         This Court’s Order postponing the discovery-related and trial-related deadlines to

  consummate the settlement (DE 225), when read with this Court’s General Scheduling Order,

  imposes imminent discovery-related deadlines and trial-related deadlines. In compliance with

  this Court’s deadlines, plaintiff has timely noticed – without prejudice to settlement and as a

  protective measure – depositions for tomorrow Feb. 28, 2019 and March 4, 2019. The additional

  complications involving Venezuela, where President Trump has recognized Guaido as President




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  but Maduro continues in power, make it impossible to proceed with depositions, given the

  untoward situation confronting opposing counsel who was retained by the Maduro government.

         To preserve the timeliness of plaintiff’s actions (which are in fact timely) and not run

  afoul of this Court’s deadlines, while simultaneously enabling plaintiff in good faith to pursue

  official U.S. government approval to receive his settlement through an OFAC license as

  authorized by EO 13850, plaintiff respectfully requests that this Court stay this action, subject to

  further Order of this Court, either sua sponte or at the request of any party, and that the stay

  when issued be effective nunc pro tunc to today Feb. 27, 2019.

                                Consultation with Opposing Counsel

         In compliance with this Court’s rules, undersigned counsel for plaintiff has consulted

  with opposing counsel concerning this motion. Opposing counsel states it cannot speak for

  defendant Venezuela itself in light of President Trump’s recognition of the Guaido government,

  but that opposing counsel, speaking for itself, has no opposition to this motion.

                                         (continued next page)




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                                             Conclusion

         This Court should grant this motion and should stay this action nunc pro tunc to today

  Feb. 27, 2019, allowing either party to seek relief from the stay at any time for good cause.

  A proposed order is attached.


  Dated: February 27, 2019                      LAW OFFICE OF DENNIS GROSSMAN
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                                  CERTIFICATE OF SERVICE

         I certify that copies of this motion are being served on counsel for defendant this Feb. 27,
  2019 through this Court’s ECF system by filing this motion with this Court.

                                                /s/ Dennis Grossman
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